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 PROB 12C                                                                                  Report Date: May 10, 2017
(6/16)

                                        United States District Court                                         FILED IN THE
                                                                                                         U.S. DISTRICT COURT
                                                                                                   EASTERN DISTRICT OF WASHINGTON

                                                        for the
                                                                                                    May 11, 2017
                                         Eastern District of Washington                                 SEAN F. MCAVOY, CLERK



                  Petition for Warrant or Summons for Offender Under Supervision


 Name of Offender: Courtney D. Vaughn                         Case Number: 0980 2:14CR00021-RMP-019
 Address of Offender:                      , Spokane, Washington 99207
 Name of Sentencing Judicial Officer: The Honorable Rosanna Malouf Peterson, U. S. District Judge
 Date of Original Sentence: March 10, 2015
 Original Offense:        Distribution of Oxycodone Hydrochloride, 21 U.S.C. § 841(a)(1)
 Original Sentence:       Prison - 21 months                  Type of Supervision: Supervised Release
                          TSR - 36 months
 Asst. U.S. Attorney:     Russell E. Smoot                    Date Supervision Commenced: October 16, 2015
 Defense Attorney:        Federal Public Defender             Date Supervision Expires: October 15, 2018


                                          PETITIONING THE COURT

               To REQUEST A WARRANT and to incorporate the violation(s) contained in this petition
in future proceedings with the violations previously reported to the Court on June 22, 2016, April 7, 2017,
and April 18, 2017.

The probation officer believes that the offender has violated the following condition(s) of supervision:


Violation Number        Nature of Noncompliance

            9           Mandatory Condition # 2: The defendant shall not commit another Federal, state, or local
                        crime.

                        Supporting Evidence: On October 19, 2015, Courtney Vaughn signed his conditions for
                        case number 2:14CR00021-RMP-19, indicating he understood all conditions ordered by the
                        Court. Specifically, Mr. Vaughn was made aware by his U.S. probation officer that he may
                        not commit another Federal, state, or local crime.

                        On May 2, 2017, Mr. Courtney Vaughn violated the terms of his supervised release by
                        driving with a suspended license and by having a scale and cocaine in his vehicle.
                        Specifically, on May 2, 2017, the undersigned officer received notification from law
                        enforcement officers that Mr. Vaughn had been contacted on the day in question, and it was
                        subsequently determined that the client was in possession of a “scale and white powder.” As
                        a part of the contact, Mr. Vaughn lied to authorities regarding his status on state supervision,
                        and was determined to be in the presence of one Taurean Jones, an individual known to the
                        client to be a convicted felon, as Mr. Vaughn had previously associated with the individual
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                during the commission of a crime, as reported to the Court on the petition dated June 22,
                2016.

                Police reports were immediately requested regarding the incident and on May 10, 2017, the
                U.S. Probation Office in Spokane received the initial police report and subsequent charging
                request in reference to the incident. The police report serves to document an incident
                occurring on May 2, 2017, at 1:15 a.m., in which the vehicle driven br Mr. Vaughn was
                stopped by law enforcement due to a series of observed traffic violations.

                Upon contacting and identifying Mr. Courtney Vaughn as the driver of the vehicle, Mr.
                Vaughn admitted that he was driving with a suspended license, a fact later verified by the
                contacting officer. Mr. Vaughn was arrested for the violation, and the passenger of the
                vehicle was contacted and determined to be Taurean Jones. Mr. Jones was found to have
                an active warrant and was placed under arrest.

                A search of Mr. Jones following his lawful arrest was conducted by the arresting officer, and
                a total of $1,500.50 was located on his person. Mr. Jones was unable to articulate how he
                had made the money. Mr. Vaughn was asked to consent to a search of the vehicle to which
                he initially agreed, but later recanted once the officer reached the trunk of the vehicle.

                Staff with the Washington State Department of Corrections (DOC) subsequently responded
                due to Mr. Jones’ active supervision with the agency. Upon arrival, DOC staff inquired with
                Mr. Vaughn about any active supervision with their agency to which he denied. It should be
                noted that Mr. Vaughn is in fact currently on supervision with their agency as a direct result
                of the client’s behavior, as articulated in the petition submitted to the Court on June 22,
                2016, and in which the client was also subsequently convicted of drug possession while in
                the presence of Taurean Jones. DOC staff continued the search of the vehicle and located
                a scale and a “plastic bag with a white powder substance approximately the size of a ping
                pong ball” in the trunk of the vehicle. The search was stopped and a warrant sought. The
                substance identified was later tested after the search warrant was served and was determined
                to be cocaine.

                The charging request and witness list provided requests that charges be filed against the
                client for one count of Controlled Substance Delivery/Manufacture/Possession with Intent
                to Deliver, in violation of 69.50.401, a Class C felony.
          10    Standard Condition # 9: The defendant shall not associate with any persons engaged in
                criminal activity, and shall not associate with any person convicted of a felony, unless
                granted permission to do so by the probation officer.

                Supporting Evidence: On October 19, 2015, Courtney Vaughn signed his conditions for
                case number 2:14CR00021-RMP-19, indicating he understood all conditions ordered by the
                Court. Specifically, Mr. Vaughn was made aware by his U.S. probation officer that he may
                not have contact with any person engaged in criminal activity, and that he could not
                associate with any person convicted of a felony, unless granted permission to do so by the
                undersigned officer.

                On May 2, 2017, Mr. Courtney Vaughn violated the terms of his supervised release by
                associating with Taurean Jones, an individual known to him to have been convicted of a
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                     felony. Specifically on May 2, 2017, Mr. Courtney Vaughn was stopped by law enforcement
                     while driving and found to be in the company of Taurean Jones, an individual known to the
                     client to be a convicted felon. It should be noted that Mr. Vaughn had previously associated
                     with Mr. Jones and had previously admitted to the undersigned officer that he was aware of
                     Mr. Jones’ criminal history, and his condition that he not associate with such an individual.


                                        I declare under penalty of perjury that the foregoing is true and correct.
                                                          Executed on:     May 10, 2017
                                                                           s/ Chris Heinen
                                                                           Chris Heinen
                                                                           U.S. Probation Officer



 THE COURT ORDERS

 [ ]      No Action
 [ X]     The Issuance of a Warrant
 [ ]      The Issuance of a Summons
 [X ]     The incorporation of the violation(s) contained in this
          petition with the other violations pending before the
          Court.
 [ ]      Defendant to appear before the Judge assigned to the
          case.
 [X ]     Defendant to appear before the Magistrate Judge.
 [ ]      Other

                                                                           Signature of Judicial Officer

                                                                                     5/11/2017
                                                                           Date
